Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 1 of 26




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

    Civil Action No. 11-CV-02285-NYW


    CENTER FOR LEGAL ADVOCACY, d/b/a
    DISABILITY LAW COLORADO,

          Plaintiff,

    v.

    REGGIE BICHA,
    In his official capacity as Executive Director
    Of the Colorado Department of Human Services, and

    JILL MARSHALL,
    In her official capacity as Superintendent
    Of the Colorado Mental Health Institute at Pueblo

          Defendants.

            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                  INTRODUCTION

          This matter is before the Court because of a dispute between the

    Plaintiff, Disability Law Colorado, and the Defendants, Reggie Bicha and Jill

    Marshall, concerning whether there has been a breach of a settlement

    agreement between the parties. The purpose of the contract is to address

    certain constitutional rights of individuals living with a mental health

    disorder who are charged, but not convicted, with committing criminal

    offenses in Colorado. While the subject of the contract is important, the

    dispute presently before this Court is a contract dispute.




                                           1
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 2 of 26




           Disability Law Colorado attempts to cloud the legal issue before this

    Court by introducing extraneous facts detailing compelling circumstances

    some individuals face while incarcerated before trial. Disability Law Colorado

    cannot show that Defendants Bicha and Marshall are responsible for such

    circumstances. Further, what Disability Law Colorado fails to acknowledge is

    that the contract has met, and continues to meet, its essential purpose:

    defendants in Colorado are ensured a greater level of constitutional

    protection than would otherwise be afforded by state or federal law in this

    jurisdiction.

           Now, Disability Law Colorado disputes a provision in the parties’

    contract that it bargained for. Disability Law Colorado asks this Court to

    impose remedies not contemplated by the parties’ contract, because of its

    failure to accept the risk associated with the provision it now disputes. The

    law does not support this result. As a consequence, summary judgement

    should be awarded in favor of Defendants Bicha and Marshall.

                                   BACKGROUND

           When an individual living with a mental health disorder comes into

    contact with the criminal justice system, his or her experience of that system

    is impacted by community mental health centers, behavioral health

    organizations, law enforcement officers, county jails, jail clinicians, public

    defenders and defense counsel, prosecutors, judges, and state mental health

    institutes. The action, or inaction, of these actors directly impacts whether an




                                            2
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 3 of 26




    individual living with a mental health disorder will become engaged with the

    criminal justice system, what will happen to that individual during that time,

    and when, if at all, he or she will be able to exit that system.

          Situated squarely in the middle of the criminal justice system is the

    Colorado Department of Human Services (the Department). 1 The

    Department’s role is specific and it is allowed very little discretion. The

    Colorado General Assembly’s directive is clear: the Department is to provide

    a competency evaluation for any defendant when the issue of competency to

    stand trial is raised, and the Department is to provide restoration to

    competency services for any defendant found by the court to be incompetent

    to proceed. §§ 16-8.5-101, et seq., 27-60-105, C.R.S. (2017).

          Because of its statutorily-defined and non-discretionary role, the

    Department cannot control whether a defendant is ordered to receive its

    services in the first place, and whether those services must take place at a

    state mental health institute or in the community. Instead, a judge makes

    that decision which is almost always influenced by the arguments of a

    prosecutor or defense counsel and the availability, or lack thereof, of

    supportive services from community mental health centers. The Department

    has no control over this part of the system, yet it is expected to perform its



    1 The Colorado Department of Human Services is led by Defendant Reggie

    Bicha and the Colorado Mental Health Institute at Pueblo is led by
    Defendant Jill Marshall, both named as Defendants in their official
    capacities. Accordingly, both Defendants are collectively referred to hereafter
    as the Department.


                                            3
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 4 of 26




    statutory duties and absorb the impact on its resources when these decisions

    are made.

           At times, the volume of court orders requiring the Department to

    provide competency evaluation and restoration to competency services

    (restoration services) has resulted in a list of individuals waiting to receive

    those evaluations and services. Because of this, in 2011, Disability Law

    Colorado filed the complaint in this matter, challenging the length of the time

    individuals were waiting to receive competency evaluations and restoration

    services.

           Shortly thereafter, the Department entered into settlement

    negotiations with Disability Law Colorado to resolve the issues raised in the

    complaint. After several rounds of in-person settlement negotiations

    mediated by former Magistrate Judge Boyd N. Boland, and months of post-

    mediation negotiations, the parties reached a resolution. Dkts. 51-1, 82, ¶ 16.

    The resulting Settlement Agreement (the 2012 Agreement) put into place

    certain timeframes for the Department to: 1) complete outpatient (in-jail)

    competency evaluations; 2) offer admission for inpatient competency

    evaluations; and 3) offer admission for inpatient restoration services. Dkt. 51-

    1 ¶ 2(a)-(b), and Appendix 1. By agreeing to these timeframes, the parties put

    into place requirements that are otherwise absent in state or federal law in

    this jurisdiction.




                                            4
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 5 of 26




           In addition to imposing an affirmative obligation on the Department to

    meet these timeframe requirements, the 2012 Agreement also recognized the

    fact that “the ability to perform its statutory obligations and obligations

    under [that agreement] is based on factors beyond the Department’s control.”

    Dkt. 51-1 ¶ 6. As a result, the parties agreed to a provision in the 2012

    Agreement which, when invoked by the Department and in certain

    circumstances, would temporarily suspend its obligations under that

    agreement. Id. That provision of the 2012 Agreement was titled—and is

    commonly referred to by the parties as—“Departmental Special

    Circumstances” (DSC). Id., ¶ 6(a)(ii). But, invoking DSC did not come without

    a price to the Department. That is, every time the Department invoked DSC,

    the 2012 Agreement would be extended equal to the length of time DSC was

    invoked. Id., ¶ 4(c).

           Upon signing the 2012 Agreement, the parties jointly agreed to

    dismissal of the underlying complaint. Through its hard work, the

    Department maintained several years of compliance with the timeframe

    requirements. In fact, since July 2015, the Department has successfully

    complied with the timeframe requirements related to outpatient competency

    evaluations. See Exhibit A - Report C: Outpatient Jail Evaluations: 7/1/2015-

    7/31/2015 through 7/1/2018-7/31/2018, “Days Waiting” column (showing

    compliance because there are no defendants waiting more than 30 days).




                                            5
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 6 of 26




          However, in August 2015, due to circumstances beyond its control, the

    Department could no longer meet all of the timeframe requirements of the

    2012 Agreement, and chose to invoke DSC. Dkt. 57, § I(a). A dispute between

    the parties ensued, concerning, in relevant part, the Department’s invocation

    of DSC. As a result, in October 2015, Disability Law Colorado moved to

    reopen the matter for enforcement of the 2012 Agreement, and between

    December 2015 and February 2016, conducted limited discovery on the issue

    of DSC. Dkts. 53, 63, 65.

          Shortly thereafter, in 2016, the parties engaged in settlement

    negotiations, including two days of mediation, lengthy subsequent

    negotiations, and the exchange of multiple drafts of what ultimately became

    the current Amended and Restated Settlement Agreement (the Agreement).

    Dkts. 65, 67, 69, 71, 78, and 82, ¶ 27. The Agreement is the product of over

    three months and hundreds of hours of work by both parties and their

    counsel. Id. Upon signing the Agreement, the parties jointly agreed to

    dismissal of Disability Law Colorado’s motion to reopen the matter for

    enforcement. Dkt. 78.

          Changes to the Agreement demonstrate that Disability Law Colorado

    paid special attention to the provisions in dispute and in the end, the current

    Agreement contains many of the same provisions as the 2012 Agreement.

    Important here, the only substantive difference in the definition of DSC

    between the two settlement agreements was substitution of “substantial and




                                           6
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 7 of 26




    material decrease in the Hospital’s budget or another sentinel event” with “a

    national or statewide disaster.” Compare, Dkt. 51-1, ¶ 6(a)(ii), with Dkt. 78-1,

    ¶ 6(a)(ii). Additionally, the only substantive difference in the length of DSC

    was the addition of language allowing the Department to terminate DSC in

    less than six months. Compare, Dkt. 51-1, ¶ 6(c), with Dkt. 78-1, ¶ 6(c).

    Notably, the consequence for the Department invoking DSC—extending the

    duration of the Agreement—was not altered as a result of the parties’

    negotiations in 2016. Compare, Dkt. 51-1, ¶ 4(c), with Dkt. 78-1, ¶ 4(c).

    However, the parties did materially alter provisions concerning the duration

    of the Agreement in the event of non-compliance with the timeframes where

    DSC was not invoked. Compare, Dkt. 51-1, ¶ 4(b) (providing for a year

    reduction in duration for every year of compliance), with Dkt. 78-1, ¶ 4(b)

    (providing for a reduction of three months for every month of compliance and

    an increase of three months for every month of non-compliance not resulting

    from DSC).

          In June 2017, due to circumstances beyond its control, the Department

    could no longer meet the timeframe requirements of the Agreement and

    chose to invoke DSC. Dkt. 82-1, Exhibit A, pp. 9-12. While it worked to

    address the circumstances that led to DSC through myriad of approaches,

    circumstances beyond the Department’s control also led to the Department

    choosing to invoke DSC in December 2017. Id., Exhibit B, pp. 16-22.




                                           7
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 8 of 26




          Because of its efforts, the Department has successfully complied with

    the timeframe requirements related to inpatient competency evaluations

    since June 2018. See Exhibit B - Report B: Inpatient Evaluations: 6/1/2018-

    6/30/2018 through 7/1/2018-7/31/2018, “Days Waiting” column (showing

    compliance because there are no defendants waiting more than 28 days). DSC

    remains available to it, given that circumstances beyond its control continue

    to impact the Department’s ability to meet timeframe requirements

    concerning inpatient restoration services. However, in June 2018 the

    Department chose not to invoke DSC. Instead, it continues to work creatively

    and expeditiously to tackle the challenge of achieving and maintaining

    compliance with the inpatient restoration services timeframes. Ultimately,

    each of the Department’s actions—invoking DSC in June 2017, invoking DSC

    in December 2017, and choosing not to invoke DSC in June 2018—were

    contemplated by the Agreement, and therefore, do not amount to breach.

                     STATEMENT OF UNDISPUTED FACTS

          The following facts are undisputed:

          1.     The Department is required to provide competency evaluations

    for any defendant when the issue of competency to stand trial is raised. § 16-

    8.5-101, et seq., C.R.S. (2017).

          2.     The Department is required to provide restoration services for

    any defendant found by the court to be incompetent to proceed. §§ 16-8.5-101,

    et seq., 27-60-105, C.R.S. (2017).




                                          8
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 9 of 26




           3.     In 2012, the parties entered into settlement negotiations to

    resolve issues related to the length of the time individuals were waiting to

    receive competency evaluations and restoration services. Dkts. 51-1, 82, ¶ 16.

           4.     After settlement negotiations mediated by former Magistrate

    Judge Boyd N. Boland, and post-mediation negotiations, the parties reached

    the 2012 Agreement resolving the case. Dkts. 51-1, 82, ¶ 16.

           5.     The 2012 Agreement put into place timeframes for the

    Department to: 1) complete outpatient (in-jail) competency evaluations; 2)

    offer admission for inpatient competency evaluations; and 3) offer admission

    for inpatient restoration services. Dkt. 51-1 ¶ 2(a)-(b), Appendix 1.

           6.     The 2012 Agreement included a provision called Special

    Circumstances, which “recognizes that to some extent the Department’s

    ability to perform its statutory obligations and its obligations under [the 2012

    Agreement] is based on factors beyond the Department’s control.” Dkt. 51-1

    ¶ 6.

           7.     The 2012 Agreement defines DSC as:

                  circumstances beyond the control of the Department which
                  impact the [Department’s] ability to comply with the timeframes
                  set forth in Paragraph 2. This could mean an unanticipated
                  spike in referrals, a substantial and material decrease in the
                  Hospital’s budget, or another sentinel event impacting clinical
                  decisions system wide. These examples are provided for
                  illustration only. [DSC] is a flexible concept, due to the unique
                  and often unforeseen nature of these events.

    Dkt. 51-1 ¶ 6(a)(ii).

           8.     The 2012 Agreement states that:



                                           9
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 10 of 26




                  if [DSC] is invoked and then agreed upon by the parties, the
                  timeframe requirements of Paragraph 2 shall be suspended as to
                  all Pretrial Detainees affected by the invoked [DSC] for a period
                  of six months from the date of the Department’s invocation.

    Dkt. 51-1, ¶ 6(c).

           9.     The 2012 Agreement states that:

                  if the timeframe requirements of Paragraph 2 of [the 2012
                  Agreement] are temporarily suspended pursuant to the
                  provisions of Paragraph 6(c), the duration of [the 2012
                  Agreement] shall be extended for a period equal to the length of
                  time of the suspension of the timeframe requirements…[and]
                  then the Department will receive only a reduction in the
                  duration for the number of months it was in compliance for the
                  year.

    Dkt. 51-1, ¶ 4(c).

           10.    The 2012 Agreement states that “upon the first anniversary of

    the full execution of [the 2012 Agreement] and if the Department has fully

    complied with the terms of [the 2012 Agreement],” the duration of the 2012

    Agreement would be reduced by one year. Dkt. 51-1, ¶ 4(b).

           11.    Both parties certified that they fully and carefully reviewed the

    2012 Agreement and consulted with their respective attorneys regarding the

    legal effect and meaning of the 2012 Agreement and all terms and conditions

    thereof. Dkt. 51-1, ¶ 13(b).

           12.    In August 2015, the Department invoked DSC. Dkt. 57, ¶ I(a).

           13.    In October 2015, Disability Law Colorado moved to reopen the

    matter for enforcement of the 2012 Agreement, in part, because it disputed

    DSC. Dkts. 53, 63.




                                           10
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 11 of 26




           14.    After two days of mediation, engaging in subsequent settlement

    negotiations, and exchanging multiple drafts, the parties entered into the

    Agreement resolving the case. Dkts. 65, 67, 69, 71, and 78.

           15.    The Agreement is the product of over three months and

    hundreds of hours of work by both parties. Dkts. 65, 67, 69, 71, and 78.

           16.    The Agreement includes a provision called Special

    Circumstances, which recognizes that “to some extent the Department’s

    ability to perform its statutory obligations and its obligations under [the

    Agreement] are based on factors beyond its control.” Dkt. 78-1 ¶ 6.

           17.    The Agreement defines DSC as:

                  circumstances beyond the control of the Department which
                  impact the Department’s ability to comply with the timeframes
                  set forth in Paragraph 2. This could mean an unanticipated
                  spike in referrals, a national or statewide disaster impacting
                  admissions decisions system wide. These examples are provided
                  for illustration only. [DSC] is a flexible concept, due to the
                  unique and often unforeseen nature of these events.

    Dkt. 78-1 ¶ 6(a)(ii).

           18.    The Agreement states that:

                  upon the invocation of [DSC], the timeframe requirements of
                  Paragraph 2 shall be automatically suspended for six months,
                  unless the Department notifies [Disability Law Colorado] that a
                  shorter period of time is sufficient to resolve [DSC], commencing
                  with the month in which the Notice of [DSC] is transmitted to
                  [Disability Law Colorado].

    Dkt. 78-1, ¶ 6(c).

           19.    The Agreement states that:




                                           11
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 12 of 26




                   if the timeframe requirements of Paragraph 2 of [the
                   Agreement] are temporarily suspended pursuant to the
                   provisions of Paragraph 6(c), the duration of [the Agreement]
                   shall be extended for a period equal to the length of time of the
                   suspension of the timeframe requirements.

    Dkt. 78-1, ¶ 4(c). This language reflects a modification from the 2012

    Agreement. Id.

          20.      The Agreement states that:

                   the term of the Agreement shall be reduced by three months for
                   each of the number of months of certified timeliness compliance
                   for the prior calendar year…[and] the term of the Agreement
                   shall be increased by three months for each month during the
                   prior calendar year that the Department was not in full
                   compliance with the timeliness requirements of [the
                   Agreement].

    Dkt. 78-1, ¶ 4(b).

          21.      Both parties certified that they fully and carefully reviewed the

    Agreement and consulted with their respective attorneys regarding the legal

    effect and meaning of the Agreement and all terms and conditions thereof.

    Dkt. 78-1, ¶ 15.

          22.      In June 2017, the Department invoked DSC. Dkt. 82-1, Exhibit

    A, pp. 9-12.

          23.      In December 2017, the Department invoked DSC. Dkt. 82-1,

    Exhibit B, pp. 16-22.

          24.      The Department’s invocation of DSC in both June 2017 and

    December 2018 complied with the Agreement’s notice requirements. Dkts 78-

    1, ¶ 6(c), 82-1, Exhibit A, pp. 9-12, Exhibit B, pp. 16-22.




                                            12
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 13 of 26




           25.     In June 2018, the Department did not invoke DSC. Dkt. 88,

    ¶ I(A)(iii).



                        SUMMARY JUDGMENT STANDARD

           Summary judgment is proper when there is no genuine dispute of any

    material fact and a movant is entitled to judgment as a matter of law. Fed. R.

    Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A judge’s

    function at summary judgment is not to weigh the evidence, but to determine

    whether there is a genuine dispute for trial. Tolan v. Cotton, 134 S. Ct. 1861,

    1866 (2014) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249

    (1986)). A dispute is genuine when the trier of fact could reasonably enter

    judgment for either party. Anderson, 477 U.S. at 248. A fact is material if it

    might reasonably affect the outcome of the case. Id. The moving party has the

    initial burden to show “that there is an absence of evidence to support the

    nonmoving party’s case.” Celotex, 477 U.S. at 325. When considering a motion

    for summary judgment, a court views the evidence in the light most favorable

    to the non-moving party. Garrett v. Hewlett-Packard Co., 305 F.3d 1210, 1213

    (10th Cir. 2002).

                                     ARGUMENT

           The parties agree that the issues before the Court are: 1) whether the

    Agreement grants the Department the right to invoke DSC consecutively,

    without limitation; 2) whether the Department breached, or was in non-




                                           13
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 14 of 26




    compliance, with the Agreement timeframes when it invoked DSC in

    December 2017, claiming it can consecutively invoke DSC; 3) whether the

    Department breached, or was in non-compliance, with the Agreement when it

    did not invoke DSC on June 21, 2018; and 4) if the Department was in breach

    of, or non-compliance with, the Agreement, what remedies this Court should

    impose. Dkt. 88. The Department turns to each issue in turn.

          I.     The Agreement grants the Department the right to invoke
                 Departmental Special Circumstances more than one time and
                 consecutively.

          The language of the Agreement and law governing contract

    construction confirms that the Department may invoke DSC consecutively

    and there is no limit on the number of times it may do so.

          A settlement agreement is a contract, and thus questions of its

    construction and scope are governed by principles of contract law. United

    States v. McCall, 235 F.3d 1211, 1215 (10th Cir. 2000); Anthony v. United

    States, 987 F.2d 670, 673 (10th Cir. 1993). “Where sophisticated parties enter

    into an agreement setting forth their rights and obligations, the terms of the

    agreement should control unless the agreement would otherwise be void

    under state law.” Colorado Interstate Corp. v. CIT Grp./Equip. Fin., Inc., 993

    F.2d 743, 749 (10th Cir. 1993). A fundamental tenet of contract interpretation

    is that provisions cannot be read in isolation. Sanpete Water Conservancy

    Dist. v. Carbon Water Conservancy Dist., 226 F.3d 1170, 1179 (10th Cir.




                                          14
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 15 of 26




    2000). Each contract provision is to be considered in relation to all of the

    others, with a view toward giving effect to all and ignoring none. Id.

          Moreover, the court will first take the instrument by its four corners,

    in order to ascertain its true meaning. Ewing’s Lessee v. Burnet, 36 U.S. 41,

    54 (1837); Brammer-Hoelter v. Twin Peaks Charter Acad., 492 F.3d 1192,

    1211 (10th Cir. 2007) (it is only where the terms of an agreement are

    ambiguous that the court may look beyond the four corners of the

    agreement)(internal quotations omitted). Notably, a disagreement between

    the parties concerning the meaning of contract terms does not render such

    provisions ambiguous. Level 3 Commc’ns, LLC v. Liebert Corp., 535 F.3d

    1146, 1155 (10th Cir. 2008). Parties are presumed to have bargained for any

    risks that are central to the substance of the contract. United States v.

    Winstar Corp., 518 U.S. 839, 905 (1996). If the risk was foreseeable, there

    should have been provision for it in the contract, and the absence of such a

    provision gives rise to the inference that the risk was assumed. Id.

          Under the Agreement, DSC means “circumstances beyond the control

    of the Department which impact the Department’s ability to comply with the

    timeframes set forth in paragraph 2.” Dkt 78-1, ¶ 6(a)(ii). DSC is a “flexible

    concept, due to the unique and often unforeseen nature of these events.” Id.

    The definition of DSC also includes a non-exclusive list of examples,

    including situations where there is an unanticipated spike in referrals, or a

    national or statewide disaster impacting admissions decisions system-wide.




                                           15
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 16 of 26




    Id. DSC is based on the parties’ recognition that “to some extent the

    Department’s ability to perform its statutory obligations and its obligations

    under this Agreement is based on factors beyond its control.” Id., ¶ 6.

          The parties bargained for the availability of DSC, but did not bargain

    for the limitations on DSC that Disability Law Colorado now suggests. As a

    result, the Court should enforce the Agreement as written. Colorado

    Interstate Corp., Inc., 993 F.2d at 749. Disability Law Colorado, a

    sophisticated party, assumed the risks associated with its failure to bargain

    for restrictions on DSC that it now seeks. Winstar Corp., 518 U.S. at 905. The

    risk that the Department may need to invoke DSC more than once or

    consecutively was foreseeable, so the absence of limiting language confirms

    that Disability Law Colorado assumed that risk. Id. Disability Law Colorado

    had ample opportunity to seek to eliminate DSC altogether, or to demand

    revisions consistent with the language it now suggests the Court read into

    the Agreement. Disability Law Colorado did neither and, therefore, assumed

    the associated risks. Id.

          Viewing the contract as a whole supports applying DSC as written

    without new restrictions. Ewing’s Lessee, 36 U.S. at 54. For example, because

    the parties agreed that an undefined range of circumstances beyond the

    Department’s control might influence its ability to comply with the

    timeframes, it makes sense that the parties did not bargain for the arbitrary

    restrictions on DSC that Disability Law Colorado now suggests.




                                          16
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 17 of 26




           Because the four corners of the Agreement do not limit the number of

    times or the timing of invoking DSC, the Department reasonably expected

    that it could invoke DSC as written, and did so. Id. And, the terms of the

    Agreement are not ambiguous—they simply do not include the restrictions

    that Disability Law Colorado suggests. As a result, the Court should look

    only to the four corners of the Agreement, and apply it as written. Brammer-

    Hoelter, 492 F.3d at 1211.

           If Disability Law Colorado did not intend to agree that the Department

    may invoke DSC more than once, the onus was on Disability Law Colorado to

    express its intent. Instead, Disability Law Colorado bargained for the current

    Agreement, which does not prohibit consecutive invocation of DSC or limit

    the number of times DSC may be invoked. Based on the parties’ negotiations

    and the twice-agreed upon language of the Agreement, the Department has a

    justified expectation that it may invoke DSC consecutively and that its ability

    to do so is not limited.

           II.    The Department’s December 2017 invocation of Departmental
                  Special Circumstances is contemplated by the Agreement, and
                  does not constitute breach of the Agreement.

           The Department’s second invocation of DSC is not a breach of contract

    because the parties bargained for, agreed to, and included a provision in the

    Agreement allowing DSC but not limiting it.

           A breach of contract is always a non-performance of a contractual duty,

    but not every non-performance of duty is a breach of contract. Corbin, Corbin




                                          17
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 18 of 26




    on Contracts § 943 (1952); See also RESTATEMENT (FIRST) of CONTRACTS § 312

    (AM. LAW INST. 1932). When a contract calls for the performance of services,

    “Colorado presumptively applies the law of the state where the majority of

    the services are to be performed.” Calabrese Found., Inc. v. Inv. Advisors,

    Inc., 831 F. Supp. 1507, 1512 (D. Colo. 1993) (quoting Sequa Corp. v. Lititech,

    Inc., 780 F. Supp. 1349, 1351 (D. Colo. 1992)). Under Colorado law, a party

    alleging breach of contract has the burden of proving: “(1) the existence of a

    contract; (2) performance by the plaintiff or some justification for

    nonperformance; (3) failure to perform the contract by the defendant; and (4)

    resulting damages to the plaintiff.” Spring Creek Expl. & Prod. Co., LLC v.

    Hess Bakken Inv., II, LLC, 887 F.3d 1003, 1033 (10th Cir. 2018), as revised

    (Apr. 13, 2018) (citing W. Distrib. Co v. Diodosio, 841 P.2d 1053, 1058 (Colo.

    1992)); see also, e.g. Stoole v. Metro. Prop. & Cas. Ins. Co., 17-CV-0613-NYW,

    2018 WL 3126112, at *3 (D. Colo. June 26, 2018).

          Disability Law Colorado cannot meet its burden under Spring Creek,

    887 F.3d at 1033. It is undisputed that the Agreement is a binding contract

    between the parties. However, Disability Law Colorado has not demonstrated

    that it performed its duties under the Agreement, particularly as it relates to

    the application of remedies if the Department is unable to meet the

    Agreement’s timeframes or to provide justification for its non-performance.

    Id., see also supra pp. 21-24. The contract’s express remedies provide that

    when DSC is invoked, or if the Department has otherwise been unable to




                                           18
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 19 of 26




    meet the timeframes in the agreement, the duration of the Agreement will be

    extended. Dkt. 78-1, ¶ 4, see also supra pp. 23-26. Now, Disability Law

    Colorado refuses to comply with those contract terms. Dkt. 82, pp. 19-20.

          Second, Disability Law Colorado cannot meet its burden under Spring

    Creek to show that the Department failed to perform under the terms of the

    Agreement by invoking DSC in December 2017. The Agreement specifically

    grants the Department the right to invoke DSC and does not include a

    limitation on how often it may do so. Supra pp. 14-18. It is undisputed that

    the Department followed the Agreement’s enumerated steps to invoke DSC, 2

    that is, the Department: 1) gave written notice of its DSC invocation; 2)

    provided a detailed explanation of the basis for invoking DSC; 3) provided a

    plan to remedy the DSC; and 4) provided a projected timeframe for resolution

    of DSC. Dkt. 78-1, ¶ 6(c). Because the Department’s non-performance of the

    timeframes upon invocation of DSC was contemplated by the Agreement,

    such non-performance does not constitute a failure to perform its obligations.

          Even assuming arguendo, that the contract could be construed to

    include a restriction on consecutive or multiple DSC invocations, the

    Agreement provides the remedy for failing to meet its timeframes, and does

    not define failure to meet the timeframes (either through DSC or otherwise)

    as a breach of the Agreement. This demonstrates that the parties assumed



    2 Though Disability Law Colorado disputes whether the Department could

    invoke DSC for a second time at all, it has not disputed that the Department
    followed the steps outlined in the Agreement to invoke DSC


                                          19
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 20 of 26




    the risk of the Department’s non-performance related to the Agreement’s

    timeframes, created a provision to address that risk (i.e., extension of the

    agreement), and, intentionally did not define realization of that risk as a

    breach. Winstar Corp., 518 U.S. at 905.

          Because Disability Law Colorado cannot meet its burden to prove that

    the Department failed to comply with the Agreement, and because remedies

    for non-performance are already contemplated by the Agreement, Disability

    Law Colorado cannot show damages. As a result, Disability Law Colorado

    cannot meet its burden under Spring Creek and the Court should reject its

    breach of contract claim. Spring Creek, 887 F.3d at 1033.

          III.   The Department’s decision not to invoke Departmental Special
                 Circumstances on June 21, 2018 is contemplated by the
                 Agreement, and does not constitute breach of the Agreement.

          Where the Agreement allows for the Department’s non-performance of

    the timeframes, the Department has not breached the contract but rather has

    utilized a provision that the parties agreed to. In order to prevail on this

    issue, Disability Law Colorado has the burden to meet the four Spring Creek

    elements of a breach of contract claim—the existence of a contract; Disability

    Law Colorado’s performance or some justification for nonperformance; the

    Department’s failure to perform; and the damages to Disability Law

    Colorado. Spring Creek Expl. & Prod. Co., LLC, 887 F.3d at 1033.

          It remains undisputed that a binding contract exists, and for the same

    reasons discussed above, Disability Law Colorado has failed to perform its




                                           20
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 21 of 26




    obligations under the Agreement without justification. Supra p. 18. Likewise,

    for the same reasons discussed above, the Department’s inability to meet the

    Agreement’s timeframes in June 2018 does not amount to a breach. Supra

    pp. 18-19. Because the Department’s non-performance in June 2018 was

    contemplated by the Agreement, it does not constitute a failure to perform its

    obligations. Indeed, the Agreement provides the remedy for failing to meet its

    timeframes, and does not define failure to meet the timeframes (either

    through DSC or otherwise) as a breach of the Agreement. Specifically, the

    Agreement provides that when the Department has not invoked DSC, and

    has not met the timeframe requirements, the duration of the Agreement will

    be increased by three months for each month that the Department was not in

    full compliance. Dkt 78-1, ¶ 4(b).

          Disability Law Colorado was not compelled or coerced into making the

    contract, including the terms addressing non-performance absent DSC, but

    knowingly and voluntarily agreed to terms of the Agreement. Dkt. 78-1, ¶ 15.

    As argued in detail below, DLC is a competent party who contracted for one

    remedy to apply when the Department invokes DSC and another remedy to

    apply when the Department is not in full compliance with the timeframes of

    the Agreement but has not invoked DSC.

          The Court’s inquiry into whether the Department breached the

    Agreement when it chose not to invoke DSC in June 2018 should begin and

    end by applying the plain language of the Agreement, which contemplated




                                          21
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 22 of 26




    this situation. Disability Law Colorado cannot meet the Spring Creek

    elements to prove breach, so their breach claim should be rejected.

          IV.    This Court should only impose the remedies agreed upon by the
                 parties and set forth in the Agreement.

          Disability Law Colorado asks the Court both to ignore remedies it

    agreed to, and to create new ones not included in the Agreement. The law

    does not support this result. Colorado Interstate Corp., 993 F.2d at 749.

          The law is well-established that a court must enforce the contract

    which the parties themselves have made. May v. Le Claire, 78 U.S. 217, 227

    (1870) (Contracts entered into in a spirit of peace and for the settlement of

    unadjusted demands on both sides, will not, where executed by persons of

    intelligence, and under circumstances which indicate caution and a

    knowledge of what is done, be readily questioned in equity as in fact not fair;

    but, on the contrary, will be protected and enforced); Lab. Corp. of Am.

    Holdings v. Metabolite Labs., Inc., 571 F. Supp. 2d 1199, 1212 (D. Colo. 2008),

    aff'd, 410 F. App’x 151 (10th Cir. 2011); Citywide Bank of Denver v. Herman,

    978 F. Supp. 966, 977 (D. Colo. 1997) (citing R.T.C. v. Avon Center Holdings,

    Inc., 832 P.2d 1073, 1075 (Colo. App. 1992) (“A settlement agreement is a

    contract between two parties. The law favors compromise and settlement and

    such a resolution will typically be sustained by the court.”)). This is

    particularly true where the parties are sophisticated and informed by advice

    of counsel. Colorado Interstate Corp., 993 F.2d at 749.




                                           22
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 23 of 26




          Here, the parties, represented by counsel, entered into the Agreement

    after participating in two days of mediation, engaging in lengthy settlement

    negotiations, and exchanging multiple drafts of what ultimately became the

    Agreement. Dkts. 65, 67, 69, 71, and 78. The Agreement is the product of over

    three months and hundreds of hours of work by both parties. Id. Both parties

    certified that they fully and carefully reviewed the Agreement and consulted

    with their respective attorneys regarding the legal effect and meaning of the

    Agreement and all terms and conditions thereof. Dkt. 78-1, ¶ 15.

          This certification applies to all provisions of the Agreement, including

    section 4, titled “Duration of Agreement,” which includes the remedies

    requiring the Agreement to be extended for DSC invocation and the

    Department’s inability to meet the Agreement’s timeframes. Dkt. 78-1, ¶ 4(b),

    (c). The parties’ knowing and intentional agreement concerning the remedies

    is further supported by comparing the present Agreement with the 2012

    Agreement. Compare Dkt. 78-1, ¶ 4(b), (c) (providing for both increase and

    reduction in the length of the agreement) with Dkt. 51-1, ¶ 4(b) (providing

    only for reduction in the length of the agreement). Indeed, although the

    parties modified those portions of the Agreement, they did not modify them to

    include provisions Disability Law Colorado now seeks.

          Enforcing the terms of the Agreement penalizes the Department for its

    non-performance of the timeframe requirements through an increase in the

    length of time it is subject to the Agreement. Id., 78-1 ¶ 4(b), (c). It also serves




                                            23
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 24 of 26




    as a deterrent for future non-performance of the timeframes. 3 This provides

    Disability Law Colorado with a remedy for the Department’s non-

    performance of the agreed-upon timeframes.

          Because the contract was entered into knowingly under circumstances

    indicating caution of what is to be done, and by sophisticated, represented

    parties, the Court should not question the fairness of the Agreement and

    should instead, protect and enforce the Agreement as written. May, 78 U.S.

    at 227; Lab. Corp. of Am. Holdings, 571 F. Supp. 2d at 1212; Colorado

    Interstate Corp., 993 F.2d at 749. The Court should apply the remedies

    bargained for in the Agreement, which it retained jurisdiction to enforce. 4

    Dkt. 78.

                                   CONCLUSION

          The Department is entitled to summary judgment as a matter of law because

    the Agreement permitted the Department to invoke DSC in June 2017 and in

    December 2017, and the Agreement did not require the Department to invoke DSC

    in June 2018. There is no genuine dispute of material fact as to these matters.

    Therefore, this Court should impose the remedies for DSC or non-performance

    negotiated and agreed upon by the parties, as memorialized in the Agreement.




    3 There is no evidence that these remedies have failed their intended purpose.
    4 Conversely, five of the remaining remedies proposed by Disability Law

    Colorado are inequitable, go beyond the scope of Agreement, and the Court’s
    specific preservation of its jurisdiction to enforce the terms of the Agreement.
    See Dkt. 82, pp. 19-20 ¶¶ (b)-(f).


                                           24
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 25 of 26




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                                      25
Case No. 1:11-cv-02285-NYW Document 97 filed 08/15/18 USDC Colorado pg 26 of 26




                     CERTIFICATE OF SERVICE (CM/ECF)

          The undersigned hereby certifies that on this   15th day of August

    2018, a true and correct copy of this DEFENDANTS’ MOTION FOR

    SUMMARY JUDGMENT, was electronically filed with the Clerk of the

    Court using the CM/ECF system, which will send notification of such filing

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                                         26
